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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL           :
FOUNDATION,                         :
                                    :
                  Plaintiff,        :
                                    :
      v.                            :               NO. 1:19-CV-00622
                                    :
LEIGH M. CHAPMAN, in her official   :               JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania, and   :               ELECTRONICALLY FILED
JONATHAN M. MARKS, in his official :
capacity as Deputy Secretary for    :
Elections and Commissions,          :
                                    :
                  Defendants.       :

                                      ORDER

      AND NOW, this 2nd day of May, 2022, upon consideration of the Joint

Motion for Referral to Mediation, IT IS HEREBY ORDERED THAT the motion

(Doc. 93) is GRANTED and the Clerk of Court shall REFER this matter to Chief

Magistrate Judge Mehalchick for assignment to a United States Magistrate Judge

for the purpose of conducting an in-person settlement conference on a date after

June 1, 2022. IT IS FURTHER ORDERED THAT all proceedings in this matter

and all filing deadlines are stayed until the conclusion of the settlement conference

or July 15, 2022, whichever is earlier.


                                              /s/ Christopher C. Conner
                                              United States District Judge
                                              Middle District of Pennsylvania
